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                                                                                                  YAAKOV SAKS▪*
                                                                                                    JUDAH STEIN▪
                                                                                                 ELIYAHU BABAD▪
                                                                                               MARK ROZENBERG ▪
                                                                                               KENNETH WILLARD▪

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       August 15, 2022

        Via CM/ECF
        The Honorable Hector Gonzalez
        United States District Court
        225 Cadman Plaza
        East Brooklyn, New York 11201
        Courtroom: 6A South

       RE:     Dawkins v. L.L. Bean, Inc., 1:22-cv-02626


       Dear Judge Gonzalez:

               We write on behalf of Plaintiff Elbert Dawkins and Defendant L.L. Bean, Inc. (together,
       the “Parties”) in the above captioned matter. Per the Court’s request during the Status Conference
       held on July 13, 2022, the Parties hereby submit this letter regarding the status of their discussions
       to resolve this matter. To date, the Parties have been engaged in discussions to resolve this matter
       without burdening this Court’s time and resources. In furtherance of those efforts, the Parties have
       informally exchanged information regarding the underlying allegations in this matter. Plaintiff’s
       counsel has provided Defendant’s counsel with a report analyzing Defendant’s website and the
       alleged accessibility barriers that Plaintiff encountered. Plaintiff’s counsel has also provided
       Defendant’s counsel with an initial demand to resolve Plaintiff’s claims. In return, Defendant’s
       counsel has provided Plaintiff’s counsel with information regarding the substantial remediation
       work that Defendant has conducted on its website and shared with Plaintiff’s counsel a report
       analyzing the current state of Defendant’s website and responding to the accessibility barriers
       Plaintiff allegedly encountered. The Parties anticipate they will engage in further discussion about
       this matter once Plaintiff’s counsel has had an opportunity to review and consider this information.

               Furthermore, in accordance with Paragraph 5 of the Case Management Plan and Section
       I.D of the Court’s Individual Practices, the Parties jointly request that the Court modify the current
       deadlines in the Case Management Plan. The Parties do not make this request for the purpose of
       delay, but rather to continue their good faith discussions to resolve this dispute. In addition,
       modifying the deadlines in the Case Management Plan will bring the case schedule in line with
       Defendant’s new deadline to file an answer to Plaintiff’s complaint, September 1, 2022. At
       present, the Case Management Plan currently requires the Parties to serve discovery prior to the
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deadline by which Defendant must file a responsive pleading. Accordingly, the Parties respectfully
request that the Court modify the Case Management Plan as follows:


               Discovery Activity                              New Completion Date

 Initial Disclosures required by Fed. R. Civ. P.                      9/12/2022
                     26(a)(1)

    Service of Requests for Production and                            9/22/2022
                Interrogatories

   Response to Requests for Production and                           10/21/2022
               Interrogatories

      Service of Requests for Admissions                              9/22/2022

     Response to Requests for Admissions                             10/21/2022

      Service of contention Interrogatories                          10/31/2022

     Response to contention Interrogatories                          11/30/2022

     Completion of fact witness depositions                          12/12/2022

          Completion of fact discovery                               12/12/2022

   Completion of expert discovery, including                          2/10/2023
  production of reports and related documents
                and depositions

         This is the Parties’ second request for an extension of a deadline in this case. The Parties
previously sought an extension of Defendant’s deadline to respond to the complaint, which was
granted by the Court. See Dkt. 11. The Parties previously requested an adjournment of the Status
Conference set by the Court for June 30, 2022, which was also granted. See Dkt. 7. The Parties do
not make this request for the purpose of delay, but instead to continue their discussions throughout
this period. The Parties agree that that the requested extension will promote judicial efficiency and
facilitate their good faith efforts to resolve this matter without further burdening this Court’s time
and resources.

       We thank the Court for its kind consideration and courtesies.

                                                      Respectfully Submitted,
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                                       /s/ Mark Rozenberg
                                       By: Mark Rozenberg, Esq.
